Case 1: 03- -C\/- -01211- .]DT- STA Document 29 Filed 05/03/05 Page 1 of 3 /.Page|D 51

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IN THE UNITED STATES DISTRICT CoURT @5,%}, t 0
FoR THE WESTERN DISTRICT 0F TENNESSEE _ "- ~3 3
EAsTERN DIVISION 4/5' 3, 0
»~,> _ ` 3
RoBERT’s JEWELERS, INC., ) 353//9@,/,
) ;'<;' /‘{5" ` iv
Plaintiff, ) 345/w l /,
) Civil Acrion No. 1-03-1211 ’
v. ) Judge Todd/Magistrate Anderson
)
wIsE CHoICE SoFTWARE, )
A DIVIsIoN 0F cENTRIFUGAL )
FoRcE, INC. )
)
Defendant, )

AGREED ORDER OF DISMISSAL
It appearing to the Court, as evidenced by the signatures of counsel appearing below, that

all matters in controversy between the parties have been compromised and settled, it is hereby,

ORDERED, ADJUDGED AND DECREED that this matter is DISMISSED With prejudice.

Entered this g hid/ay of MZOOS%
JAMW TODD zM

Unite tates Chief District Judge

 

Order submitted by:

NEAL & HARWELL, PLC

s %MQ%Q

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Attorneysj?)r Wise Choice Software

This document entered on the docket sheet in compli nce
with Hule 58 and' or _79 (a) FHCP on O§

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HARDEE, MARTIN, DAUSTER & DONAHOE

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

